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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN THE MATTER OF:                                 :           CHAPTER 13

SELETHIA YVONNE CHEELEY                           :           CASE NO. 19-58019-JWC

        DEBTOR                                    :



                       CONVERSION TO CASE UNDER CHAPTER 7


        COMES NOW, the above-named Debtor, SELETHIA YVONNE CHEELEY, and
respectfully shows to this Honorable Court the following:
                                             1.
        Debtor filed for relief under Chapter 13 of the Federal Bankruptcy Code on May 23,
2019.
                                                  2.
        Debtor is eligible under Chapter 7 of the Federal Bankruptcy Code and desires to convert
the above-styled case under that Chapter.

        WHEREFORE, the above-named Debtor prays for relief under Chapter 7 of the Federal
Bankruptcy Code.


                                                       Respectfully submitted,


                                                       /s/ A. Frank Harper
                                                       A. Frank Harper, Attorney for Debtor
                                                       Georgia Bar Number 327870


42 Eastbrook Bend
Peachtree City, Georgia 30269
(770) 486-1220
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a true and exact copy of the Conversion to

Case under Chapter 7 to:

                                       Nancy J. Whaley              (via CM/ECF)
                                       Nancy J. Whaley, Standing Ch. 13 Trustee
                                       Suite 120, Truist Plaza Garden Offices
                                       303 Peachtree Center Avenue
                                       Atlanta, GA 30303


                                       Selethia Yvonne Cheeley       (via U.S. Mail)
                                       331 Webster Lane
                                       Jonesboro, GA 30238


by either CM/ECF or by placing same in a properly addressed envelope with sufficient postage

to insure delivery and depositing same in the United States Mail.


       This day of January 21, 2022.


                                                     /s/ A. Frank Harper
                                                     A. Frank Harper, Attorney for Debtor
                                                     Georgia Bar Number 327870

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